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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


QUINCY GILSTRAP,                             )
                                             )
      Plaintiff,                             )
                                             )
VS.                                          )               CIVIL ACTION NO.
                                             )
URT TEXAS, INC., ET AL.,                     )               3:20-CV-1589-G
                                             )
      Defendants.                            )




                    ORDER OF DISMISSAL WITH PREJUDICE

      Before the court is the joint stipulation of dismissal with prejudice filed by the

plaintiff Quincy Gilstrap and the defendants URT Texas, Inc. f/k/a URT Dallas

Towing, Inc., Mart Caudle Corporation d/b/a Walnut Hill Wrecker, and URT United

Road Towing, Inc. See docket entry 38.

      Accordingly, it is ORDERED, ADJUDGED, and DECREED that all of the

plaintiff’s claims and causes of action against the defendants are hereby DISMISSED

WITH PREJUDICE.

      It is further ORDERED, ADJUDGED, and DECREED that each party shall

bear its own costs and attorneys’ fees.

      SO ORDERED.

July 30, 2021.

                                          ___________________________________
                                          A. JOE FISH
                                          Senior United States District Judge
